Case: 5:22-cv-01454-CEH Doc #: 1-12 Filed: 08/15/22 1 of 2. PagelD #: 44

EXHIBIT |
Case: 5:22-cv-01454-CEH

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Gait - Order #4508 conllrmed

N

Karl Forsell <Horce@gmall.com>

Order #1505 confirmed —

1 message

FPGA Land <salas@fpgaland>
To: frsi@ilml.net

FPGA Land

18 June 2018 at 06:22

ORDER #1505

Thank you for your purchase!

Hi Carl, we're getling your order ready to be shipped. We will notify you when it
has been sent.

Order summary

or Visit aur store

BCU1525 - Blockchain Edition (With Mods & No

RAM) x 19 $63,650.00
GE
Subtotal $63,650,00
Shipping $299.58
Total $63,949.58 USD
Customer information
Shipping address Billing address
Carl Forseil Can Forsell
Nonce Pte Lid Nonce Pte Ltd
8 St Martin's Dr 8 St Martin's Or
#03-21 St Martin Residence #03-21 St Marlin Residence
Singapore 258005 Singapore 258005
Singapore Singapore
Shipping method Payment method
Worldwide Bank deposit — $63,949.58

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